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                            UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF COLUMBIA

IN RE: LORIE LYNN RONES                                          :
                                                                 :
                                                                 :        Case No.: 18-00728
                                                                 :
                                    Debtor.                      :        Chapter 13


                      OPPOSITION TO MOTION FOR RELIEF FROM
                                 AUTOMATIC STAY

              Debtor(s)’ counsel, respectfully oppose HSBC Bank USA, National Association’s

(the “movant”) Motion for Relief from Automatic Stay, because the debtor(s) is uncertain that they

are in the arrearage for the post-petition payments as alleged by the movant.

              In support of this opposition, counsel states as follows:

              1.        On November 9, 2018, the debtor(s) filed a voluntary petition for relief under

Chapter 13 of the Bankruptcy Code.

              2.        On or about April 9, 2019, the movant filed the above-referenced motion,

alleging that the debtor(s) are in the arrearage with their post-petition payments due to the movant.

              3.        In that regard, the debtor(s) intends to confer with the movant as to whether

their records are accurate as it relates to the debtor(s)’ account with the movant, and if the movant’s

records are partially inaccurate or accurate, than the debtor(s) will either pay the arrearage or enter

into a consent order with the movant.

              4.        Therefore, counsel requests that the Motion filed by the movant be denied.

              WHEREFORE, for these and such other reasons as may appear to the Court, counsel
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respectfully requests that the movant’s motion be denied.

                                                      By    /s/ Kevin Judd____________
                                                            Kevin D. Judd
                                                            Attorney for Debtor, Bar #434926
                                                            601 Pennsylvania Avenue, NW
                                                            Suite 900 - South Building
                                                            Washington, D.C. 20004
                                                            Telephone: 202-483-6070
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                                   CERTIFICATE OF SERVICE

             I hereby certify that on April 26, 2019, the foregoing Opposition to Motion for Relief
from Automatic Stay was -e-mailed, via ECF to the Chapter 13 Trustee, Nancy L. Spencer Grisby
and e-mailed via ECF to:

Dinh Ngo, Esq.
McCabe, Weisberg & Conway, LLC
312 Marshall Avenue, Suite 800
Laurel, MD 20707




                                                      /s/ Kevin Judd__________
                                                      Kevin D. Judd
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                            UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF COLUMBIA

IN RE: LORIE LYNN RONES                                     :
                                                            :
                                                            :      Case No.: 18-00728
                                                            :
                                  Debtor.                   :      Chapter 13


                                            ORDER

              Upon consideration of Debtor’s Opposition to Motion for Relief from Automatic Stay

and the entire record herein,

              ORDERED, that the Motion for Relief from Automatic Stay is hereby denied.


Copies to:

Nancy L. Spencer Grisby, Bankruptcy Trustee
185 Admiral Cochrane Drive
Annapolis, MD 21401

Kevin D. Judd, Esq.
601 Pennsylvania Avenue, NW
Suite 900 - South Building
Washington, DC 20004
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Laurel, MD 20707

Lorie Lynn Rones
2920 Pennsylvania Ave., SE
Washington, DC 20020



                                    End of Order
